
62 So.3d 1279 (2011)
Michael LEE, Appellant,
v.
Rey GOMEZ, Appellee.
No. 3D10-1726.
District Court of Appeal of Florida, Third District.
June 22, 2011.
Lawrence R. Metsch, Miami, for appellant.
*1280 De La O, Marko, Magolnick and Leyton, and Miguel M. de la O and Daniel L. Leyton, Miami, for appellee.
Before RAMIREZ, C.J., and SHEPHERD and SALTER, JJ.
PER CURIAM.

CONFESSION OF ERROR
Based on the appellee's proper confession of error, we reverse the final judgment on attorney's fees and costs and remand for further proceedings. On remand, the trial court shall make the findings required under Florida Patient's Compensation Fund v. Rowe, 472 So.2d 1145 (Fla.1985). Johnson v. Amritt, 48 So.3d 976 (Fla. 3d DCA 2010).
Appellant's remaining point lacks merit.
